8:09-cr-00141-JFB-SMB           Doc # 157         Filed: 10/19/12    Page 1 of 1 - Page ID # 353




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )                 8:09CR141
               vs.                            )
                                              )                     ORDER
SABRINA KING,                                 )
                                              )
                       Defendant.             )

       Defendant Sabrina King appeared before the court on Friday, October 19, 2012 on a
Second Amended Petition for Offender Under Supervision [151]. The defendant was represented
by Assistant Federal Public Defender Richard H. McWilliams, and the United States was
represented by Assistant U.S. Attorney Kimberly C. Bunjer. Through her counsel, the defendant
waived her right to a probable cause hearing on the Petition for Offender Under Supervision [151]
pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. A detention hearing
was held. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and
convincing evidence that she is neither a danger to the community, or a flight risk, the court finds
the defendant has failed to carry her burden and that she should be detained pending a
dispositional hearing before Judge Bataillon.
               IT IS ORDERED:
       1.      A final dispositional hearing will be held before Judge Bataillon in Courtroom No. 3,
Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on
November 2, 2012 at 9:30 a.m. Defendant must be present in person.
       2       The defendant, Sabrina King, is committed to the custody of the Attorney General
or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.
       DATED this 19th day of October, 2012.

                                                       BY THE COURT:

                                                       s/ F. A. Gossett
                                                       United States Magistrate Judge
